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          EXHIBIT 12
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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA



SOCIAL TECHNOLOGIES LLC, a Georgia
limited liability company,

              Plaintiff,

       v.

APPLE INC., a California corporation,
                                                    No. 3:18-cv-05945-VC
              Defendant.




                            EXPERT REPORT OF TYLER DROLL




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Yet despite blunts and middle fingers being featured in the Lucky Bunny app, Apple
apparently did nothing and permitted the app to be released. Even Lucky Bunny’s
corporate representative recognized that these actions were not allowed. Ehrlich Tr. at
87:22-89:2.

         F. Lucky Bunny’s app Was Not The First To Use the Word MEMOJI

Lucky Bunny was not the first to use “Memoji.” The first app that utilized “Memoji” was
Chris Anthony’s “Memoji - Emoji Yourself App.” Lucky Bunny’s app is similar to Chris
Anthony’s app (and Social Tech’s Memoji app) but dissimilar to Apple’s Memoji software
feature and subsequent use of Memoji.

Christopher Anthony’s app was released in September 2014. The app purports to
permit users to use their faces as an emoji. 38

Like Lucky Bunny’s app, Christopher Anthony’s app allowed a user to “Crop around
your face in a perfect circle” https://appadvice.com/app/memoji-gif-selfies-with-emoji-
accessories/921847909

Social Tech’s app, also called Memoji - Emoji Yourself, allows users to “transpose [an]
image into a custom, personalized emoji of the users actual face.” Social Tech’s app
also employs full-motion capabilities to its emojis.

         G. Lucky Bunny’s app is Fundamentally Different From Apple’s Memoji
         Feature and Use of Memoji

As described above, Lucky Bunny’s app was an “app,” or computer application software
designed for a mobile device. The app was purportedly used to create GIF selfies, a
type of personal emoticon, short for “emotion icon,” also known as an “emoji,” a pictorial
representation of a facial expression.39
The Lucky Bunny app was downloadable from the App Store.

I understand from reviewing Apple’s Opposition to Plaintiff’s Administrative Motion to
Shorten Time for Their Motion for Preliminary Injunction that Apple describes its use of
the MEMOJI mark as relating to “a new software feature in Apple’s popular iOS
operating system.” Dkt. 16, p. 1. Like Apple, I will refer to Apple’s software feature,
which is not an app, as “the MEMOJI software feature.”




38   https://appadvice.com/app/memoji-emoji-yourself/909887660
39   https://appadvice.com/app/memoji-gif-selfies-with-emoji-accessories/921847909

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Apple announced the MEMOJI software feature in connection with its iOS 12
announcement at its annual World Wide Developer Conference. Among the new
features Apple touted and its event was the MEMOJI software feature, a “personalized
Animoji” that “can look like you or the real you.” The customizable avatar utilizes
TruDepth camera technology in Apple’s iPhone X and later models to track a user’s
face in real time and overlay the Memoji face on top of the user’s face, showing their
expressions on the Memoji in real time. 40

Memoji is even able to track movement of a user’s tongue. The feature is available in
Apple’s iMessage and Facetime on iPhone X and later phones, and iPads.

The MEMOJI software feature is contained at the operating system level (i.e. it is part of
iOS, Apple’s mobile operating system for the iPhone and iPads). The MEMOJI software
feature is not an application and it is not downloadable software. It is not available on
the App Store because it is contained in iOS; it cannot be removed from iOS and cannot
be downloaded separately. La Perle Tr. 50:21-24.

Apple also uses Memoji as a mascot for its entire brand, as well as to promote Apple
Music. Before the feature was even available as part of a non-beta version of iOS,
Apple replaced its executives’ headshots with “Memoji” versions of their faces.41 A
picture of Apple’s website featuring its executives in Memoji form is reproduced below:




40 Charlie Sorrel, How to make a great Memoji, Cult of Mac (October 26, 2018),
https://www.cultofmac.com/579259/how-to-make-custom-memoji/; Apple, iPhone User
Guide: Use Animoji and Memoji in Messages on iPhone,
https://support.apple.com/guide/iphone/use-animoji-and-memoji-iph37b0bfe7b/ios.
41 Jacob Kastrenakes, Apple replaced its executive portraits with Memoji, The Verge

(July 17, 2018), https://www.theverge.com/2018/7/17/17580910/apple-memoji-
executive-portraits-jony-ive-tim-cook.

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 Apple has also utilized Memojis on billboards in Los Angeles, showcasing the Memoji
versions of musicians including Shawn Mendes, Ariana Grande, and Kacey
Musgraves.42 Apple put up the billboards ahead of the 61st Annual Grammy Awards,
which took place on February 10, 2019 at the Los Angeles Staples Center.

Apple also created three Memoji-centered ads for the Grammys.43 Each ad has a
disclaimer that the Memoji were “professionally animated.” The ads are essentially
music videos featuring Memoji versions of Ariana Grande, Florida Georgia Line, and
Khalid. At the conclusion of the ads, the artist’s name appears in text next to the
Memoji mark. The ads conclude with the Apple Music logo.

At no point is an iPhone, iPad, iMessage, or Facetime shown in the Memoji ads.
Rather, the ads appear to promote Apple Music.

Apple has also continued to use Memoji mascots recently. On July 8, 2019, Apple
celebrated the United States' women's national soccer team victory in the 2019 World
Cup with a Memoji-themed tribute on its Apple.com website. 44




42 Alex Allegro, Apple Music billboards go up around LA featuring Memoji Grammy
nominees, 9to5Mac (February 5, 2019), https://9to5mac.com/2019/02/05/apple-animoji-
billboard-grammys/.
43 Anthony Ha, Apple turns Ariana Grande and other musicians into Memoji for its latest

ads, TechCrunch (2018), https://techcrunch.com/2019/02/08/apple-memoji-ads/.
44 Tim Hardwick, Apple’s Website Celebrates US Women’s World Cup Victory With

Memoji Tribute, MacRumors (July 8, 2019),
https://www.macrumors.com/2019/07/08/apple-world-cup-victory-memoji-tribute/

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As is readily apparent, Apple’s use of Memoji is broad and goes beyond the MEMOJI
software feature in iOS -- it is used for the Apple Music platform and as a type of mascot
for Apple’s own brand.


In summary, I also present the following chart between the various Memoji products and
services at issue in this litigation:

 App/Feature                          App?    Downloadable?

 Lucky Bunny’s MEmoji App             Yes     Yes

 Apple’s MEMOJI software feature      No      No

 Memoji + Apple Music and             No      No
 mascots

 Social Tech’s Memoji app             Yes     Yes

 Christopher Anthony’s Memoji app Yes         Yes




Dated: July 31, 2019
                                                Tyler Droll




                                                                                       40
